Case 4:21-cv-00795-CLM Document 31-5 Filed 06/09/22 Page 1 of 2            FILED
                                                                  2022 Jun-09 PM 08:39
                                                                  U.S. DISTRICT COURT
                                                                      N.D. OF ALABAMA




                    EXHIBIT 1-5
       Case 4:21-cv-00795-CLM Document 31-5 Filed 06/09/22 Page 2 of 2




WEB DEALER ORIGINAL TITLE

    IJJI    11
             111111
          111111
     1111111111
    II
  1v4AA6AP7HC455086
                                                                              111111111111
                                                                             1111 III
                                                                                 IDI
                                                                             10130243121250023
            COUNTY: HARRIS                        TAC NAME: ANN HARRIS BENNETT
                                                  DATE: 01/22/2018   •    EFFECTIVE DATE: 01/22/2018
            PLATE NO: KK53943                     TIME* 02'39PM           EXPIRATION DATE: 12/2019
            DOCUMENT NO: 10130243121250023        USER: 101-JMACIA5       WEB TITLE ID: 4107362


            RENEWAL RECIPIENT NAME     AND: ADDRESS                     OWNER NAME AND ADDRESS
            SHIRLEY MARIE LIGONS                 - ••
                                                                        SHIRLEY MARIE LIGONS
            5931 CASCADERA'DR                                        - 5931 CASCADERA DR
                                                               -,>•.•••
            HOUSTON, TX 77086                                           HOUSTON, TX 77086


                                                                REGISTRATION CLASS: PASSENGER-LESS/HOL
                                                                PLATE TYPE: PASSENGER-TRUCK PLI
                                                                ORGANIZATION:
                                                                STICKER TYPE: WS'
            VEHICLE IDENTIFICATION NO: 1144AA6AP7HC455086    ,    VEHICLE CLASSIFICATION: PASS
            YR/MAKE: 2017/MISS MODEL: MAX BODY STYLE: 4D       , UNIT NO:
            EMPTY WT: 3600    CARRYING,CAPACITY: 0        GROSS WT: 3600     TRAILER TYPE:
            BODY VEHICLE IDENTIFICATION NO:,                           TV1 TRLR L/W/SOFT: 0'0"
            PREV OWNER NAME: FRED HAAS NISSAN, 1.P.     PREV CITY/STATE: TOMBALL, TX.
            INVENTORY ITEM(S)                YR
            PASSENGER-TRUCK PLT,
            WINDSHIELD STICKER '             72019               :FEES ASSESSED, •,, .
                                                                   TITLE APPLICATION FEE. •
            VEHICLE RECORD NOTATIONS                               TEXAS MOBILITY FUND. FEE.
            ACTUAL MILEAGE                                         SALES TAX FEE             ,
            E-TIT1E                                               03UYERS TAG
            E4tEMINDER & PAPER   RENEWAL NOTICE                   nITLE CONVENIENCE ne,
            MAJOR COLOR: BLUE                                      WINDSHIELD STICKER
                                                                  'REG' FEE-DPS
                                                                  ,CNT? ROAD BRIDGE ADD -014 FEE
                                                                   CHILD SAFETY FUND
                                                                   INSPECTION FEE -21R
                                                                   PROCESSING AND HANDLING FEE
                                                                                       TOTAL
             ODOMETER READING: 4         BRAND: A
             OWNERSHIP EVIDENCE! MANuFACTuRER'S CERT.,OF.ORIGIN
           , 151 LIEN        . > DATE: 12/29/2017
             NISSAN MOTOR ACCEPTANCE CORP.
             PO BOX 254648
             SACRAMENTO, CA 95865
                               -                                                                   H
                                                                                  SALES TAX CATEGORY•SALES/USE
                                                                                                           •
                                                               Date of Assignment/Sales       bgee: 12/29/2017
                                                              Sales Price (Less $4,...og0Ao rebate)       314300a
                                                                          Less Trade,In..Alldwance       49450e00
                                                                                    Taxable Amoünt        114.8.0.»90
                                                                                  • Sales Tax Paid
                                                                        Lees•Ötler State Tax Paid               0 -AU
                                                                                       Tax Penalty              0.00
                                                                               .    TOTAL TAX PAID.           737.50.Z




                                                TITLE WILL BE ELECTRONICALLY FILED WITH THE LIEWOIDER.
            THIS'RECEIPT IS YOUR PROOY,OF. APPLICATION FOR CERTIFICATE OF.TITLE AND REGISTRATION.




                                                  • .._ _ ,                 ••.




   KKS3943



                                                                                                       DO NOT USE/
                                                                                                         NO USE

   HARRIS                            HC455086




                                                                                                                NMAC 0002
